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                   EXHIBIT C
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Dear Judge Castel,

      I am grateful to have the opportunity to address Your Honor about my

actions and the crime I committed. I look back with deep regret, shame, and

embarrassment. I want to start off by apologizing to Your Honor and all those I let

down and hurt, including so many friends and my family.

      I was blessed to have been raised by amazing parents, both of whom are

medical doctors. They did everything in their power to provide for me and my

sister growing up in Alabama. One of the hardest parts about all of this, is

knowing how much I let them down and how much I have hurt them. My actions

put an immense amount of stress on my mother and father. I am also forever

grateful for all the support they showed me throughout this process. When I was

home on pretrial release, we grow closer, but I kept wishing it wasn’t because of

the circumstances. My crime also severely and understandably frayed for the

indefinite future my relationship with my sister, whose husband works for the U.S.

government. This is incredibly painful, but I deserve it. My decision to plead

guilty and accept responsibility for what I have done started the healing process,

but things are far from back to normal.

      The foolishness and stupidy of my decision to travel to North Korea now

astounds me. The only way I can explain why I justified going in my mind

beforehand is because I became obsessed with seeing the country before it fell,

akin to someone offered the chance to see East Berlin in its final days before the
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Wall came down. I love my country and did not set out to do anything to harm it.

This is one reason I reported to the State Department before I went and upon

return, and voluntarily flew across the country at my own expense to be

interviewed by the FBI, as well as offered to be a spy. But I know now not

listening to the State Department and going anyway, as well as what I did related

to North Korea was wrong, and nothing I did upon return changed that. I expect

much better of myself and am profoundly embarrassed. I was arrogant and so very

wrong.

      Your Honor, I share all of this not to garner Your Honor’s sympathy or pity,

but so you can hopefully better understand my state of mind then and now. The

two plus years since my arrest have been the most difficult of my entire life.

Fortunately, hardship begets reflection and evolution, and I have grown to be more

patient, humble, and cognizant of the ramifications of my actions. I am also

fortunate to have some many friends and former colleagues, and, of course, my

family supporting me.

      Your Honor, I will never be in front of Your Honor or any other judge ever

again. I have the experience and tools to never repeat the mistakes I made.

      Thank you for the opportunity to share this with Your Honor.

                                              Yours respectfully,

                                              Virgil Griffith
